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                                EXHIBIT M
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                                                                              EXECUTION VERSION


                  PREFERENCE SHARES PAYING AGENCY AGREEMENT

As of December 21, 2006

Investors Bank & Trust Company, as
Preference Shares Paying Agent
Attn: CDO Services, Brentwood CDO, Ltd.
200 Clarendon Street
Mail Code EUC 108
Boston, Massachusetts 02116


Ladies and Gentlemen:

         Brentwood CLO, Ltd., an exempted company with limited liability incorporated under the laws of
the Cayman Islands (the “Issuer”), has resolved to appoint Investors Bank & Trust Company (“IBT”), as
preference shares paying agent (the “Preference Shares Paying Agent”) for the Class I Preference
Shares and the Class II Preference Shares issued by the Issuer (collectively, the “Preference Shares”).
The Issuer hereby appoints IBT as such under the terms set forth below and confirms IBT’s agreement to
distribute any funds to be paid to the Holders of the Preference Shares pursuant to the Priority of
Payments set forth in the Indenture (as defined herein) and in accordance with the laws of the Cayman
Islands. Reference is also made to the indenture, dated as of December 21, 2006, among the Issuer,
Brentwood CLO, Corp., as co-issuer (the “Co-Issuer”), and IBT, as Trustee (the “Indenture”).
Capitalized terms used and not otherwise defined herein shall have the meanings assigned thereto in the
Indenture or, if not defined therein, certain resolutions passed at a meeting of the Issuer’s Board of
Directors that was held on December 20, 2006, as reflected in the minutes thereof, including Annex A
(“Annex A”) therein (the “Resolutions” and, together with this Agreement and the Issuer’s Amended and
Restated Memorandum and Articles of Association, the “Preference Share Documents”). The
Preference Shares will be issued, and may be transferred, subject to the procedures set forth in Annex A
to the Resolutions.

        On the Closing Date, (i) all of the Class I Preference Shares will be offered and sold directly by
the Issuer to Brentwood Investors Corp., an exempted company with limited liability incorporated under
the laws of the Cayman Islands (“Investors Corp.”) and (ii) all of the Class II Preference Shares will be
offered and sold by the Issuer directly to Highland Financial Partners, L.P. (“HFP”) (an Affiliate of the
Servicer) and/or one or more of its subsidiaries. Investors Corp. will finance its purchase of the Class I
Preference Shares by issuing preference shares (the “Holding Preference Shares”) in a number equal to
the aggregate number of, at a price equal to the price of, such Class I Preference Shares purchased by it
from the Issuer.

        Section 1.        Notice of Distribution to Directors. The Preference Shares Paying Agent,
promptly after receipt of the Valuation Report, shall forward or make available to the directors of the
Issuer (as identified to it by the Issuer) the Valuation Report which identifies the Interest Proceeds and
Principal Proceeds, payable to the Holders of the Preference Shares on the applicable Payment Date.

        Section 2.      Payments of Dividends and Other Distributions, Amounts Not Distributable

                (a)      The Preference Shares Paying Agent shall, subject to paragraphs (b), (c), (d) and
(e) below, pay or cause to be paid, on behalf of the Issuer from the Preference Share Distribution Account
or the Class II Preference Share Special Payment Account, as applicable, on each applicable Payment
Date, the Interest Proceeds and Principal Proceeds received from the Trustee to the Holders of the


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Preference Shares as a distribution of dividend on such Payment Date. Such distributions of Interest
Proceeds and Principal Proceeds by way of dividend to the Holders of Preference Shares shall be paid pro
rata in the proportion that the number of Preference Shares held by each such Holder bears to the total
number of Preference Shares. The Issuer, or the Share Registrar on its behalf, shall provide the
Preference Shares Paying Agent with a copy of the Preference Share register on the Closing Date and
thereafter, the Share Registrar will promptly notify the Preference Shares Paying Agent of any changes to
the Preference Share register. The Preference Shares Paying Agent shall notify the Issuer and the Share
Registrar of any transfers of Preference Shares known to it and all information known to it with respect to
the Preference Shares necessary to prepare and maintain the Preference Share Register. The Share
Registrar shall be entitled to rely on any such information provided to it pursuant to the preceding
sentence without any liability on its part. Any Class II Preference Share Special Payment that constitutes
part of any such distribution will not be allocable to the Class I Preference Shareholders, rather such
amounts will be available for distribution on the Class II Preference Shares.

                  (b)     Notwithstanding anything in this Agreement to the contrary, distributions of
Interest Proceeds and Principal Proceeds by way of dividend to the Holders of Preference Shares on any
Payment Date shall (i) be subject to the Issuer being solvent under Cayman Islands law (defined as the
Issuer being able to pay its debts as they become due in the ordinary course of business) immediately
prior to, and after giving effect to, such payment as determined by the Issuer and (ii) be made only to the
extent that the Issuer has sufficient distributable profits and/or share premium out of which to make such
payment as determined by the Issuer. If the Issuer determines that the conditions set forth in either clause
(i) or (ii) above are not satisfied with respect to any portion of Interest Proceeds or Principal Proceeds
payable on such Payment Date, the Issuer shall instruct the Preference Shares Paying Agent in writing not
later than one Business Day prior to such Payment Date that such portion of Interest Proceeds or Principal
Proceeds, as applicable, should not be paid, and the Preference Shares Paying Agent shall not pay the
same, to the Holders of the Preference Shares until the first succeeding Payment Date, or (in the case of
any payments which would otherwise be payable on the Redemption Date or any Scheduled Preference
Shares Redemption Date) until the first succeeding Business Day, upon which the Issuer notifies the
Preference Shares Paying Agent in writing that each such condition is satisfied, at which time the
Preference Shares Paying Agent shall distribute such amounts. To the extent available, distributions shall
be made first out of distributable profits for the current Due Period, then out of distributable profits in
excess of dividends for prior Due Periods and then out of share premium.

                 (c)      Notwithstanding anything in this Agreement to the contrary, distributions of the
Redemption Price by way of redemption of the Preference Shares shall be subject to the Issuer being
solvent under Cayman Islands law (defined as the Issuer being able to pay its debts as they become due in
the ordinary course of business) immediately prior to, and after giving effect to, such distribution as
determined by the Issuer. For purposes of this subsection (c), a determination as to whether the Issuer is
solvent on the Redemption Date shall be made by the Issuer (A) after giving effect to any payments to be
made on such Redemption Date and (B) in light of the fact that the obligations of the Issuer to the Holders
of the Notes, the other Secured Parties and the other Persons subject to the Priority of Payments are
limited in recourse to the Collateral, and not to amounts (i) in the Preference Shares Distribution Account,
(ii) any other amounts released from the Collateral in accordance with the Indenture and held by or on
behalf of the Issuer for the benefit of the Holders of the Preference Shares or (iii) amounts on deposit in
the Issuer’s bank account in the Cayman Islands, and that after the assets in the Collateral are exhausted,
such parties will have no further claim against the Issuer. If the Issuer determines that such condition is
not satisfied on a Redemption Date with respect to any portion of the Redemption Price, the Issuer shall
instruct the Preference Shares Paying Agent in writing not later than one Business Day prior to such
Redemption Date that such portion should not be distributed, and the Preference Shares Paying Agent
shall not distribute the same, to the Holders of the Preference Shares until the first succeeding Business
Day upon which the Issuer notifies the Preference Shares Paying Agent in writing that such condition is


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satisfied, and the amounts so retained in the Preference Shares Distribution Account will be held therein
until such amounts are paid.

                 (d)      On each Payment Date during the first two years following the Closing Date, the
Preference Shares Paying Agent shall distribute, on behalf of the Issuer, amounts received by it from
amounts on deposit in the Class II Preference Share Special Payment Account pursuant to Section 10.3(k)
of the Indenture that are equal to the products of (a) the Class II Preference Share Portion for such
Payment Date and (b) the Servicing Fees then due and payable to the Servicer as described in Section
11.1(a)(i) of the Indenture, for payment pro rata to the Holders of the Class II Preference Shares as the
Class II Preference Share Special Payment. After the two-year anniversary of the Closing Date, the
Preference Shares Payment Agent shall make distribution of such Class II Preference Share Special
Payment pro rata to the Holders of the Class II Preference Shares in an amount equal to any portion
(between 0% and 100%) of the Servicing Fees then due and payable that the Servicer elects to waive at
any time in its sole discretion.

                 (e)     Dividends to the Holders of the Preference Shares (other than Class II Preference
Share Special Payments) may be paid, in whole or in part on any Payment Date, with any Eligible Equity
Securities held by, or on behalf of, the Issuer at such time in lieu of a distribution of Interest Proceeds.
The Servicer, on behalf the Issuer, shall have the right to direct the Trustee in writing to distribute any
Eligible Equity Securities pro rata to the Consenting Holders of the Preference Shares (as identified to
the Trustee by the Preference Shares Paying Agent) with respect to such Payment Date to the extent that
the Market Value of such Eligible Equity Securities (determined by the Servicer as of the relevant Market
Value Determination Date) is equal to or lower than the aggregate amount of Interest Proceeds that would
otherwise be due and payable on such Payment Date to such Consenting Holders of the Preference
Shares. Interest Proceeds in an amount equal to the Market Value of such Eligible Equity Securities
(determined by the Servicer as of the relevant Market Value Determination Date) distributed to the
Consenting Holders of the Preference Shares with respect to any such Payment Date shall be treated for
all purposes by the Issuer and the Servicer as Principal Proceeds available for distribution on the relevant
Payment Date. The amount of Interest Proceeds available on the relevant Payment Date shall be reduced
and the amount of Principal Proceeds available on the relevant Payment Date shall be increased
accordingly.

        Section 3.      Payments and Redemption

                 (a)      The Preference Shares Paying Agent shall make payments or distributions (other
than distributions of Eligible Equity Securities) to each registered Holder on the relevant Record Date (as
set out in Annex A to the Resolutions) by wire transfer in immediately available funds to a U.S. Dollar
account maintained by such Holder as notified to the Preference Shares Paying Agent or, in the absence
of such notification, by U.S. Dollar check mailed to such Holder at its address of record. The Issuer shall,
or shall procure that the Share Registrar will, provide the Preference Shares Paying Agent with all
relevant information regarding the registered Holders of the Preference Shares as the Preference Shares
Paying Agent may reasonably require to the extent such information is in possession or control of the
Issuer or Share Registrar.

                 (b)    If the Servicer, on behalf of the Issuer, desires to make distributions of Eligible
Equity Securities on any Payment Date in lieu of Interest Proceeds that are otherwise available for
distribution to the Holders of Preference Shares on such Payment Date pursuant to the Priority of
Payments as described in Section 2(e) above, the Servicer will notify the Trustee, the Preference Shares
Paying Agent and the Holding Preference Shares Paying Agent in writing pursuant to the Servicing
Agreement not later than 20 calendar days prior to such Payment Date and provide the Trustee, the Issuer,
the Preference Shares Paying Agent (for forwarding on the Record Date or promptly thereafter, but in no


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event later than two Business Days after the Record Date, to each Holder of the Preference Shares
registered as such on the Record Date for such Payment Date) and the Holding Preference Shares Paying
Agent (for forwarding on the Record Date or promptly thereafter, but in no event later than two Business
Days after the Record Date, to each Holder of the Holding Preference Shares registered as such on the
Record Date for such Payment Date) with (i) details of the Eligible Equity Securities to be distributed, (ii)
the Market Value of such Eligible Equity Securities determined as of the relevant Market Value
Determination Date, (iii) any other information considered necessary by the Servicer in connection with
such proposed distribution and (iv) any information as otherwise required by the Trustee, the Preference
Shares Paying Agent and/or the Holding Preference Shares Paying Agent with respect to such proposed
distribution. The Preference Shares Paying Agent shall then mail such materials, within two Business
Days of its receipt thereof from the Servicer, to each registered Holder of Preference Shares on the
Record Date for such Payment Date along with a form of notice and consent (in a form attached hereto in
Schedule I) seeking the written consent of each such Holder of Preference Shares to distribute such
Eligible Equity Securities to such Holder in lieu of all or a portion of the Interest Proceeds available for
distribution to such Holder on such Payment Date. Each Holder of the Preference Shares wishing to
receive such Eligible Equity Securities in lieu of a distribution of all or a portion of the Interest Proceeds
available for distribution to such Holder on such applicable Payment Date (each such Holder with respect
to such Payment Date, a “Consenting Holder of the Preference Shares”) is required to deliver to the
Preference Shares Paying Agent a written consent (which consent will be irrevocable) no later than five
Business Days prior to such Payment Date. If any Holder of Preference Shares does not timely deliver its
written consent to the Preference Shares Paying Agent in the manner set forth in such notice indicating its
consent to the receipt of such Eligible Equity Securities in lieu of a distribution of all or a portion of the
Interest Proceeds available for distribution to such Holder on such Payment Date, such Holder shall be
deemed to have not given its consent and shall not be a Consenting Holder of Preference Shares with
respect to such Payment Date. On each applicable Payment Date (or as soon thereafter as reasonably
practicable), Eligible Equity Securities shall be distributed pro rata to each Consenting Holder of the
Preference Shares with respect to such Payment Date. Each Holder of Preference Shares that is not a
Consenting Holder of the Preference Shares (and, for the avoidance of doubt, each Consenting Holder of
the Preference Shares to the extent the Market Value as of the relevant Market Value Determination Date
of the pro rata portion of Eligible Equity Securities distributed to it on such Payment Date is less than the
pro rata portion of the Interest Proceeds that it would have received on such Payment Date had the
Eligible Equity Securities not been distributed on such Payment Date) on any applicable Payment Date
shall receive a distribution of Interest Proceeds to the extent available in accordance with the Priority of
Payments on such Payment Date in accordance with Section 2(e) herein and the Indenture.

                (c)      The Issuer or the Preference Shares Paying Agent shall not be obligated to pay
any additional amounts to Holders or beneficial owners of the Preference Shares as a result of any
withholding or deduction for, or on account of, any present or future taxes, duties, assessments or
governmental charges. As a condition to payment of any amount, the Preference Shares Paying Agent, on
behalf of the Issuer, may require certification acceptable to it to enable the Issuer and the Preference
Shares Paying Agent to determine their duties and liabilities with respect to any taxes or other charges
that they may be required to deduct or withhold from payments or distributions in respect of Preference
Shares under any present or future law or regulation of the United States or any present or future law or
regulation of any political subdivision thereof or taxing authority therein or to comply with any reporting
or other requirements under such law or regulation. Amounts properly withheld under the Code by any
Person from a payment or distribution to a Holder of Preference Shares shall be considered as having
been paid by the Issuer or the Preference Shares Paying Agent to such Holder for all purposes herein.
The Issuer and the Preference Shares Paying Agent hereby provide notice to each Holder or beneficial
owner of the Preference Shares that the failure to provide the Preference Shares Paying Agent with
appropriate tax certifications will result in amounts being withheld from payments to such Holders or



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beneficial owners of the Preference Shares under this Agreement (provided that amounts withheld
pursuant to applicable tax laws shall be considered as having been paid by the Issuer as provided herein).

                (d)     The Issuer, the Share Registrar and the Preference Shares Paying Agent may
deem and treat the Holder of any Preference Shares as the absolute owner of such Preference Shares,
notwithstanding any notation of ownership or other writing on any certificate representing such
Preference Shares, for the purpose of paying dividends and other distributions thereon, and for all other
purposes, and none of the Issuer, the Share Registrar or the Preference Shares Paying Agent shall be
affected by any notice to the contrary. All such payments (including distributions of Eligible Equity
Securities) so made to such Holder or upon such Holder’s order shall be valid and, to the extent of the
sum or sums so paid, effectual to satisfy and discharge the liability for the monies payable upon any such
Preference Share.

               (e)     All payments by the Preference Shares Paying Agent hereunder shall be made
without charging any commission or fee to the Holders of the Preference Shares.

                 (f)     On the Scheduled Preference Shares Redemption Date, subject to the Issuer
having sufficient distributable profits and/or share premium of the Preference Shares out of which to pay
such amounts, the Issuer shall redeem the Preference Shares for a redemption price equal to all amounts
distributable to the Preference Shares Paying Agent by the Trustee for distribution to the Holders of the
Preference Shares pursuant to the Priority of Payments set forth in the Indenture, unless the Preference
Shares have been redeemed earlier through an optional redemption or otherwise. Upon final payment due
on the Preference Shares (whether on the Scheduled Preference Shares Redemption Date or any earlier
Redemption Date), the Holder thereof shall present and surrender the certificates, if any, representing the
Preference Shares at the office of the Preference Shares Paying Agent on or prior to such final payment
date. On the Scheduled Preference Shares Redemption Date, all payments on redemption of Preference
Shares to the Holders of the Preference Shares shall be made pro rata in accordance with their respective
holdings.

         Notice of final payment to the Holders of the Preference Shares pursuant to an optional
redemption in conjunction with an optional redemption of the Notes shall be given as set forth in Section
9.3 of the Indenture. Notice of any other final payment shall be given by the Preference Shares Paying
Agent by first-class mail, postage prepaid, mailed not later than 10 Business Days nor earlier than 30 days
before the applicable Redemption Date to each Holder of Preference Shares at such Holder’s address as
set forth in the Preference Share register.

        All notices of redemption shall state:

                        (i)      the Redemption Date on which the Preference Shares are to be
        redeemed;

                        (ii)     the applicable Redemption Price for the Preference Shares being
        redeemed;

                        (iii)  the place or places where such Preference Shares to be redeemed are to
        be surrendered for payment of the applicable Redemption Price, which shall be the office of the
        Preference Shares Paying Agent; and

                         (iv)   in the case of an optional redemption, the latest possible date upon which
        such notice of redemption may be withdrawn.




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        The Issuer shall have the option to withdraw any such notice of redemption up to the fourth
Business Day before the scheduled Redemption Date by written notice to the Trustee, the Servicer, the
Preference Shares Paying Agent (for forwarding to the Holders of the Preference Shares) and the Holding
Preference Shares Paying Agent (for forwarding to the Holders of the Holding Preference Shares) in each
case only if either (i) in the case of a redemption pursuant to Section 9.2(a) of the Indenture, the Servicer
does not deliver the sale agreement or certifications required under the Indenture (as described in Section
9.3(c) and 12.1(f) of the Indenture), as the case may be, in form satisfactory to the Trustee, (ii) in the case
of a redemption pursuant to Section 9.2(a) or Section 9.2(b)(i) of the Indenture, the Issuer receives the
written direction of a Majority of the Preference Shares to withdraw the notice of redemption and (iii) in
the case of a redemption pursuant to Section 9.2(b)(ii) of the Indenture, the Issuer receives the unanimous
written direction of the Holders of the Preference Shares to withdraw the notice of redemption (and the
Issuer thereby agrees for the benefit of the directing person to withdraw the applicable notice of
redemption if it receives the written direction referred to in the preceding clause (ii) or this clause (iii)).
Notice of any such withdrawal shall be delivered pursuant to Section 9.3 of the Indenture.

        Failure to give notice of redemption, or any defect therein, to the Preference Shares Paying Agent
(for forwarding to the Holders of the Preference Shares) or the Holding Preference Shares Paying Agent
(for forwarding to the Holders of the Holding Preference Shares) shall not impair or affect the validity of
the redemption of any other Preference Shares.

                 (g)    On any Payment Date on or after payment in full of the Notes, so long as all
administrative fees and expenses and other fees (without regard to any payment limitations) payable
under the Priority of Payments (including the Senior Servicing Fee and the Subordinated Servicing Fee),
all amounts owing under the Indenture and all amounts owing under the Indenture and any Hedge
Agreement to any Hedge Counterparty have been discharged:

                         (i)      at the direction of a Majority of the Preference Shares, the Issuer shall
        cause the Trustee to make payments to the Preference Share Distribution Account for distribution
        by the Preference Share Paying Agent to the Holders of the Preference Shares, in redemption of
        all of the Preference Shares, in an aggregate amount equal to all of the proceeds from the sale or
        other disposition of all of the remaining Collateral less any fees and expenses owed by the Issuer
        (including the Redemption Price of any Notes being simultaneously redeemed), the aggregate
        amount to be distributed to the Preference Shares Paying Agent for distribution to the Holders of
        the Preference Shares pro rata in accordance with their respective holdings; or

                        (ii)     at the unanimous direction of the Holders of the Preference Shares,
        voting as a single Class or group, the Issuer shall cause the Trustee to make payments in
        redemption of all or a directed portion (representing less than all) of the Preference Shares to the
        Preference Shares Paying Agent for distribution to the Holders of the Preference Shares based
        upon such direction.

                (h)     If any Holder of Preference Shares desires to direct the Issuer to optionally
redeem the Notes in accordance with Section 9.2(a) of the Indenture, such Holder shall notify the
Preference Shares Paying Agent, the Trustee, the Issuer, and the Servicer in writing not later than 45 days
before the Payment Date on which the redemption is to be made. If the Holders of at least a Super
Majority of the Preference Shares direct the Issuer to optionally redeem the Notes, the Issuer shall effect
an Optional Redemption of the Notes pursuant to the procedures described in the Indenture.

                (i)      If any Holder of Preference Shares desires to direct the Issuer to optionally
redeem the Preference Shares after the redemption or repayment of the Notes and in accordance with
paragraphs (g)(i) and (ii) above, such Holder shall notify the Preference Shares Paying Agent not later


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than 30 Business Days (or with the Servicer’s consent, not later than 20 Business Days) prior to the
proposed Redemption Date (which must be a Payment Date). Upon receiving such notice, the Preference
Shares Paying Agent shall promptly (and in no event later than two Business Days thereafter) notify the
Issuer and each Holder of the Preference Shares thereof. Each Holder of Preference Shares that also
wishes to direct the Issuer to optionally redeem the Preference Shares must so notify the Preference
Shares Paying Agent (who shall promptly notify the Issuer and the Servicer of such direction) within 20
Business Days after receipt of such notice. If the aggregate number of Preference Shares that have
directed the Issuer to optionally redeem the Preference Shares equals or exceeds the minimum threshold
set forth in paragraphs (g)(i) and (ii) above, the Issuer shall effect an optional redemption of the
Preference Shares pursuant to the procedures described in the Preference Share Documents.
Notwithstanding the foregoing, the Preference Shares must be redeemed on or prior to the Scheduled
Preference Shares Redemption Date. The Preference Shares shall be redeemed from the proceeds of any
Collateral remaining after giving effect to the redemption or repayment of the Notes and payment in full
of all expenses of the Co-Issuers.

        Section 4.       Accounts

                 (a)      On or prior to the Closing Date, the Preference Shares Paying Agent shall
establish a single, segregated non-interest bearing trust account that shall be designated as the “Preference
Shares Distribution Account” (the “Preference Shares Distribution Account”) that shall be held in trust
in the name of the Preference Shares Paying Agent for the benefit of the Issuer, over which the Preference
Shares Paying Agent shall have exclusive control and the sole right of withdrawal. The Preference Shares
Paying Agent shall direct the Trustee to make any payment pursuant to the Priority of Payments by wire
transfer (or by internal transfer if the Trustee and the Preference Shares Paying Agent are the same
Person) to the Preference Shares Distribution Account in immediately available funds. All sums received
by the Preference Shares Paying Agent from the Trustee or the Issuer for payment of dividends or other
distributions (other than the Class II Preference Share Special Payments) or the Redemption Price in
respect of the Preference Shares shall be deposited promptly in the Preference Shares Distribution
Account until the first Payment Date or, in the case of the payment of the Redemption Price in respect of
the Preference Shares, the first Business Day, on which, in either case, the Issuer notifies the Preference
Shares Paying Agent that such distribution can be made to the Holders of the Preference Shares in
accordance with Section 2 hereof. The Preference Shares Paying Agent shall then apply such funds as
provided for in Section 3 hereof. All sums payable by the Preference Shares Paying Agent hereunder
shall be paid out of the Preference Shares Distribution Account.

                 (b)      On or prior to the Closing Date, the Preference Shares Paying Agent shall
establish a single, segregated non-interest bearing trust account that shall be designated as the “Class II
Preference Share Special Payment Account” (the “Class II Preference Share Special Payment
Account”) that shall be held in trust in the name of the Preference Shares Paying Agent for the benefit of
the Issuer, over which the Preference Shares Paying Agent shall have exclusive control and the sole right
of withdrawal. The Preference Shares Paying Agent shall direct the Trustee to make any payment
pursuant to the Priority of Payments by wire transfer (or by internal transfer if the Trustee and the
Preference Shares Paying Agent are the same Person) to the Class II Preference Share Special Payment
Account in immediately available funds. All sums received by the Preference Shares Paying Agent from
the Trustee or the Issuer for payment of the Class II Preference Share Special Payments in respect of the
Class II Preference Shares shall be deposited promptly in the Class II Preference Share Special Payment
Account until the first Payment Date on which, in either case, the Issuer notifies the Preference Shares
Paying Agent that such distribution can be made to the Holders of the Class II Preference Shares in
accordance with Section 2 hereof. The Preference Shares Paying Agent shall then apply such funds as
provided for in Section 3 hereof. All sums payable by the Preference Shares Paying Agent hereunder
shall be paid out of the Class II Preference Share Special Payment Account.


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                 (c)     Notwithstanding anything herein, the Preference Shares Paying Agent shall not
incur any personal liability to pay amounts due to Holders of the Preference Shares and shall only be
required to make payments or other distributions (including the Redemption Price thereof) to the Holders
of the Preference Shares if the Issuer is solvent at the time of and immediately after any such payment or
distribution in accordance with Cayman Islands law (as determined by the Issuer) there are sufficient
monies in the Preference Shares Distribution Account or the Class II Preference Share Special Payment
Account, as applicable, to make such payments or other distributions.

              (d)     The Preference Shares Paying Agent shall have no right of set off with respect to
amounts on deposit in the Preference Shares Distribution Account or the Class II Preference Share
Special Payment Account.

                (e)     Amounts on deposit in the Preference Shares Distribution Account and the Class
II Preference Share Special Payment Account that are not paid out may be deposited in an interest-bearing
account as directed in writing by the Issuer.

         Section 5.      Unclaimed Payments. Except as otherwise required by applicable law, any
money deposited with the Preference Shares Paying Agent and held in the Preference Shares Distribution
Account or the Class II Preference Share Special Payment Account or otherwise held for payment on any
Preference Share and remaining unclaimed for two years after such payment has become due and payable
shall be paid to the Issuer upon Issuer Request; and the Holder of such Preference Share shall thereafter
look only to the Issuer for payment of such amounts and all liability of the Preference Shares Paying
Agent with respect to such money (but only to the extent of the amounts so paid to the Issuer) shall
thereupon cease. The Preference Shares Paying Agent, before being required to make any such release of
payment, may, but shall not be required to, adopt and employ, at the expense of the Issuer any reasonable
means of notification of such release of payment, including, but not limited to, arranging with the Share
Registrar for the Share Registrar to mail notice of such release to Holders of Preference Shares whose
right to or interest in monies due and payable but not claimed is determinable from the records of the
Issuer or Preference Shares Paying Agent, as applicable, at the last address of record of each such Holder.

        Section 6.       Additional Issuance of Preference Shares

                 (a)      At any time during the Replacement Period, the Issuer may issue and sell
additional Preference Shares and use the proceeds from such issuance and sale to purchase additional
Collateral Obligations or as otherwise permitted under the Preference Share Documents and the
Indenture; provided that the following conditions are met: (i) the terms of the Preference Shares issued
shall be identical to the terms of previously issued Preference Shares and (ii) the net proceeds of any
additional Preference Shares shall be used to purchase additional Collateral Obligations. Such additional
Preference Shares may be offered and sold at prices that differ from the initial offering prices of the
outstanding Preference Shares; provided that the initial offering prices of additional Preference Shares
shall not be below 100% of the face amount thereof. The Issuer shall cause purchases of additional
Preference Shares made pursuant to an additional issuance of Preference Shares to comply individually
and in the aggregate with the applicable purchase and transfer restrictions for the Preference Shares set
forth herein in Section 9 hereof and all applicable laws, rules and regulations (including, without
limitation, any rules, regulations and procedures of any securities exchange, self-regulatory organization
or clearing agency).

                 (b)     Any additional Preference Shares issued shall, to the extent reasonably
practicable, be offered by the Issuer first to the existing Holders of the Preference Shares, in such amounts
as are necessary to preserve their pro rata holdings of the Preference Shares.




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         Section 7.       Purchase and Redesignation of Preference Shares

                  (a)      Each Holder or beneficial owner of a Preference Share, by its ownership of such
 Preference Share, acknowledges and agrees that each Non-Consenting Holder of Preference Shares with
 respect to an amendment of the Indenture (which includes Holders that fail to respond to a consent
 solicitation within the applicable period) will be forced to sell its applicable Preference Shares pursuant to
 Section 9.6 of the Indenture, whereby the Amendment Buy-Out Purchaser is permitted to purchase the
 Preference Shares held by any such Non-Consenting Holder thereof at the applicable Amendment Buy-
 Out Purchase Price; provided that if any Non-Consenting Holder holds Class II Preference Shares, (i)
 such Non-Consenting Holder will sell such Class II Preference Shares to Investors Corp. and such
 Preference Shares will be redesignated as Class I Preference Shares, (ii) Investors Corp. will issue
 additional Holding Preference Shares in a number equal to the aggregate number of, and at a price equal
 to the price of, such redesignated Preference Shares purchased by it and (iii) the Amendment Buy-Out
 Purchaser will purchase such additional Holding Preference Shares in lieu of such redesignated
 Preference Shares.

                  (b)      Each Holder or beneficial owner of a Preference Share will have the right to sell
 such Preference Share to an Extension Qualifying Purchaser upon a Maturity Extension pursuant to
 Section 2.4 of the Indenture at the applicable Extension Purchase Price and absent such sale shall be
 subject to an extension of the Scheduled Preference Shares Redemption Date as set forth in the Indenture
 and the other aspects of a Maturity Extension under the Indenture; provided that if any Holder of Class II
 Preference Shares delivers an Extension Sale Notice notifying the Issuer and the Trustee of its intention to
 sell all or a portion of its Class II Preference Shares, (i) such Holder will sell such Class II Preference
 Shares to Investors Corp. and such Preference Shares will be redesignated as Class I Preference Shares,
 (ii) Investors Corp. will issue additional Holding Preference Shares in a number equal to the aggregate
 number of, and at a price equal to the price of, such redesignated Preference Shares purchased by it and
 (iii) the Extension Qualifying Purchaser will purchase such additional Holding Preference Shares in lieu
 of such redesignated Preference Shares.

                  (c)     The Share Registrar will record in the register maintained by it those Preference
 Shares which it has been notified in writing are held by HFP or any of its subsidiaries Class II Preference
 Shares or Class II Preference Shares, as appliable. Such Preference Shares shall be designated by the
 Share Registrar as Class II Preference Shares. HFP and its subsidiaries will agree not to transfer any of
 the Class II Preference Shares that they hold to any Person (including pursuant to the Amendment Buy-
 Out Option and a Maturity Extension as set out in paragraphs (a) and (b) above) other than Investors
 Corp. The Share Registrar will redesignate (i) Class II Preference Shares as Class I Preference Shares
 upon any transfer of such Class II Preference Shares by HFP or any of its subsidiaries to Investors Corp.
 and (ii) Class I Preference Shares as Class II Preference Shares upon any transfer of Class I Preference
 Shares by Investors Corp. to HFP or any of its subsidiaries.

                  (d)      Notwithstanding anything to the contrary herein, in the event that any Holder of
 Class II Preference Shares wishes to transfer all of a portion of its Class II Preference Shares (the “Class
 II Seller”) to Investor Corp. (the “Class II Buyer”) such transfer shall only be effected by the Issuer
 redeeming such Class II Preference Shares and correspondingly issuing new Class I Preference Shares to
 Investor Corp. and Investor Corp. issuing new Holding Preference Shares in accordance with this Section
 and the applicable provisions of the Articles of Association of each of the Issuer and Investors Corp.. At
 least 10 days prior to any transfer by a Class II Seller to a Class II Buyer, such Class II Seller and Class II
 Buyer shall jointly notify the Issuer, the Preference Share Paying Agent, Servicer and Investor Corp. of
 their intention to effect such transfer of Class II Preference Shares, in the form of Exhibit C (attached
 hereto) indicating the number of Class II Preference Shares to be sold and the corresponding number of
 Class I Preference Shares to be issued and transferred to Investors Corp. and the number of Holding


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 Preference Shares to be issued and acquired by the Class II Buyer, the price for such purchase and sale
 and the date on which such purchase and sale is expected to occur (such notice, the “Sale Notice”). The
 Issuer shall, on the date indicated in the Sale Notice subject to such redemption being approved in writing
 by the Board of Directors of the Issuer, redeem the indicated number of Class II Preference Shares to be
 sold by the Class II Seller and issue an equal number of Class I Preference Shares registered in the name
 of Investor Corp..

                 (e)     Simultaneously with such redemption and new issuance by the Issuer, Investors
 Corp., pursuant to the Holding Preference Shares Paying Agency Agreement and its Articles of
 Association, shall issue new Holding Preference Shares to the Class II Buyer equal in number to the
 number of Class II Preference Shares being sold by the Class II Seller as indicated in the Sale Notice.
 The Class II Buyer shall pay Investors Corp. for its subscription to such newly issued Holding Preference
 Shares in an amount indicated in the Sale Notice and Investors Corp. shall immediately apply such
 amount to pay the subscription price to the Issuer for the newly issued Class I Preference Shares, and the
 Issuer shall immediately apply such amount to pay the redemption price to the Class II Seller for the
 redemption of such Class II Seller’s Class II Preference Shares.

         Section 8.      Execution, Delivery and Dating. The certificates (if required by the Resolutions)
 relating to the Preference Shares shall be executed on behalf of the Issuer as provided for in the
 Memorandum and Articles of Association.

          At any time and from time to time after the execution and delivery of this Agreement, the Issuer
 may deliver Preference Share certificates (the “Preference Share Certificates”) executed by the Issuer to
 the Preference Shares Paying Agent, and the Preference Shares Paying Agent, upon Issuer Order, shall
 deliver such Preference Share Certificates as provided in this Agreement and not otherwise.

          Each Preference Share Certificate delivered by the Preference Shares Paying Agent to or upon
 Issuer Order on the Closing Date shall be dated the Closing Date. All other Preference Share Certificates
 that are delivered after the Closing Date for any other purpose under this Agreement shall be dated the
 date of their delivery.

         Section 9.       Registration and Registration of Transfer

                  (a)      Subject to Section 7 above, when the Preference Shares Paying Agent receives a
 request for transfer of Preference Shares, the Preference Shares Paying Agent shall comply with its
 obligations as set forth in Section 5 of Annex A to the Resolutions.

                  (b)     No transfer of the Preference Shares shall be registered if such transfer will result
 in persons that have represented that they are Benefit Plan Investors (as defined below) owning 25% or
 more of the aggregate outstanding amount of either the Class I Preference Shares or the Class II
 Preference Shares immediately after such transfer (excluding for purposes of such determination any
 Preference Shares held by any Controlling Person (as defined below) and its affiliates (such as the
 Preference Shares held by the Servicer or its affiliates) that is not also a Benefit Plan Investor) determined
 in accordance with the Plan Asset Regulation issued by the United States Department of Labor and found
 at 29 C.F.R. Section 2510.3-101 and Section 3(42) of ERISA (the “Plan Asset Regulation”). Each
 purchaser or transferee of a Preference Share will be required to represent and agree whether or not such
 purchaser is, or is using the assets of, or will at any time throughout its holding and disposition of such
 Preference Share be or become, (i) an “employee benefit plan” as defined in Section 3(3) of the United
 States Employee Retirement Income Security Act of 1974, as amended (“ERISA”), subject to Part 4 of
 Title I of ERISA, (ii) a “plan” to which Section 4975(c)(1) of the Internal Revenue Code of 1986 (the
 “Code”) applies or (iii) any entity whose underlying assets include “plan assets” of any of the foregoing



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 by reason of an investment in the entity by such a plan or arrangement. In addition, each purchaser or
 transferee of a Preference Share (other than the Servicer or its affiliates) will be required to represent and
 agree whether or not it is, or is using the assets of, or will at any time throughout its holding and
 disposition of such Preference Share be or become the Servicer or any other person that has discretionary
 authority or control with respect to the assets of the Issuer or a person who provides investment advice for
 a fee (direct or indirect) with respect to the assets of the Issuer or any “affiliate” (as defined in the Plan
 Asset Regulation) of any such person (any such person, a “Controlling Person”). If, after a purchaser’s
 or transferee’s initial acquisition of Preference Shares, the purchaser or transferee determines or the
 Issuer, the Share Registrar or the Preference Shares Paying Agent obtain actual knowledge that such
 purchaser or transferee has breached any of the foregoing representations, such purchaser or transferee
 will dispose of its interest in the Preference Shares in a manner consistent with the requirements set forth
 in Annex A to the Resolutions. Each purchaser or transferee of a Preference Share will be required to
 represent that either (i) it is not, and is not acquiring such Preference Share with the assets of, an
 “employee benefit plan” as defined under Section 3(3) of ERISA and that is subject to Part 4 of Title I of
 ERISA, any “plan” to which Section 4975 of the Code applies or a governmental or church plan subject
 to any federal, state or local law that is substantially similar to Section 406 of ERISA or Section 4975 of
 the Code (each such plan, a “Covered Plan”) and throughout the holding of such Preference Share, it will
 not become or transfer its interest to any Covered Plan or to an entity using the assets thereof, or (ii) the
 acquisition and holding of such Preference Share by the purchaser or transferee, throughout its holding
 and disposition of such Preference Share, will not result in a non-exempt prohibited transaction under
 Section 406 of ERISA or Section 4975 of the Code (or, in the case of a governmental or church plan, a
 violation of any similar law), because such purchase, holding and disposition either (x) is not, and will not
 become, subject to such laws or (y) is covered by an exemption from all applicable prohibited
 transactions, all of the conditions of which are and will be satisfied upon its acquisition of, and throughout
 its holding and disposition of, such Preference Share. Each purchaser or transferee of a Preference Share
 will be required to represent and agree that it will not transfer such Preference Share in violation of any of
 the foregoing representations and agreements, that any purported transfer that does not comply with such
 representations and agreements will be null and void ab initio and will vest in the transferee no rights
 against the Preference Shares Paying Agent or the Issuer, and that such purchaser or transferee, as
 applicable, and any fiduciary or other Person causing it to acquire such Preference Share shall, to the
 fullest extent permissible under applicable law, indemnify and hold harmless the Issuer, the Co-Issuer, the
 Trustee, the Preference Share Paying Agent, the Servicer, the Share Registrar, the Placement Agents and
 their respective affiliates from any cost, damage or loss incurred by them as a result of any transfer in
 violation of any of the foregoing.

                  (c)      The Preference Shares Paying Agent agrees that, after the initial distribution of
 the Class D Notes and the Preference Shares, neither it nor any of its affiliates will acquire any Class D
 Notes or Preference Shares (including pursuant to a Maturity Extension or the Amendment Buy-Out
 Option) unless such acquisition would not, as determined by the Trustee pursuant to the applicable terms
 of the Indenture, result in persons that have represented that they are Benefit Plan Investors owning 25%
 or more of the aggregate outstanding amount of any of the Class D Notes, the Class I Preference Shares or
 the Class II Preference Shares immediately after such acquisition (determined in accordance with the Plan
 Asset Regulation, the Indenture and the Preference Share Documents). The Class D Notes and the
 Preference Shares held by the Preference Shares Paying Agent or any of its affiliates (as defined in the
 Plan Asset Regulation) that have represented that they are Controlling Persons will be disregarded and
 will not be treated as outstanding for purposes of determining compliance with such 25% limitation to the
 extent that such person has represented that it is not a Benefit Plan Investor.

                 (d)     Notwithstanding anything else contained herein to the contrary, neither the
 Preference Shares Paying Agent nor the Share Registrar shall be responsible for ascertaining whether any
 purchase or transfer complies with the registration provisions of or exemptions from the Securities Act,


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 applicable state laws, the Code, ERISA, the Plan Asset Regulation or the Investment Company Act;
 provided that if a certificate or other written representation is specifically required by the express terms of
 this Agreement or Section 5 of Annex A to the Resolutions to be delivered to the Preference Shares
 Paying Agent by the purchaser or transferee of a Preference Share, the Preference Shares Paying Agent
 shall be under a duty to receive and examine the same to determine whether the same substantially
 conforms on its face with the terms of this Agreement or Section 5 of Annex A to the Resolutions, as
 applicable, and shall promptly notify the party delivering the same if such certificate does not comply
 with such terms.

                   (e)    The Issuer shall (and shall cause the Share Registrar to) consult the Preference
 Shares Paying Agent in connection with all transfers of Preference Shares and shall (and shall cause the
 Share Registrar to) direct all transferors and transferees to correspond through the Preference Shares
 Paying Agent. The Share Registrar will not be required to determine whether any proposed transfer,
 redemption or other transaction in relation to the Preference Shares complies with any restrictions
 imposed by law or under the terms of the Indenture or the Preference Share Documents but shall be
 entitled to rely completely in that respect on the Issuer or the Preference Shares Paying Agent.

                  (f)     In the event that the Preference Shares Paying Agent is notified by the Issuer (or
 the Servicer on behalf of the Issuer) that any Holder of Preference Shares has failed to provide the Issuer
 with the applicable United States federal income tax certifications, the Preference Shares Paying Agent
 shall notify the Share Registrar and request that it not record such transfer. Except as expressly provided
 herein or as required by this Agreement in connection with the Preference Shares Paying Agent’s
 obligations to the Holders of Preference Shares, the Preference Shares Paying Agent shall have no
 obligation to oversee or participate in any such transfer of Preference Shares.

          Section 10.     Fees and Indemnification. The fee to be paid in connection with the Preference
 Shares Paying Agent’s appointment and duties as Preference Shares Paying Agent shall be paid pursuant
 to a letter agreement dated November, 2006 between the Preference Shares Paying Agent, the Holding
 Preference Shares Paying Agent, the Servicer on behalf of Investors Corp. and the Issuer. The fees
 payable hereunder shall be paid by the Issuer to the Preference Shares Paying Agent’s account as directed
 by the Preference Shares Paying Agent. The Issuer will indemnify the Preference Shares Paying Agent
 and its officers, directors, employees and agents, against any loss, liability or expense (including
 reasonable legal fees and out-of-pocket expenses of counsel) incurred in connection with their
 appointment and duties hereunder, except such as result from their own gross negligence, bad faith or
 willful misconduct. Notwithstanding the foregoing, the Preference Shares Paying Agent agrees that such
 fees and indemnification shall be treated as an Administrative Expense of the Issuer as defined in the
 Indenture and paid pursuant to the Priority of Payments. Anything in this Agreement notwithstanding, in
 no event shall the Preference Shares Paying Agent be liable for special, indirect or consequential losses or
 damages of any kind whatsoever (including but not limited to loss of profits), even if the Preference
 Shares Paying Agent has been advised of such loss or damage and regardless of the form of action. The
 obligation of the Issuer to indemnify the Preference Shares Paying Agent under this Section 10 shall
 survive retirement of the Preference Shares and any resignation or removal of the Preference Shares
 Paying Agent but shall remain subject to the provisions of Section 23 hereof.

         Section 11.      Liabilities

                  (a)     The Preference Shares Paying Agent shall not be responsible or accountable to
 anyone for any reason whatsoever with respect to the validity of this Agreement or of the Preference
 Shares, or for any act done or omitted by it in good faith, or for anything whatsoever in connection with
 this Agreement, except for its own gross negligence, bad faith or willful misconduct in the performance of
 any duty to be performed by the Preference Shares Paying Agent hereunder.


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                  (b)    The Preference Shares Paying Agent may consult as to legal matters with lawyers
 selected with due care by it, who may be employees of or regular independent counsel to the Issuer, and
 the Preference Shares Paying Agent shall be protected from and shall incur no liability for action taken, or
 suffered to be taken, with respect to such matters in good faith and in accordance with the opinion or
 advice of such lawyers.

                   (c)    The Preference Shares Paying Agent shall be protected from and shall incur no
 liability for or in respect of any action taken or thing suffered by it in reliance upon any Preference
 Shares, notice, direction, consent, certificate, affidavit, statement or other paper or document reasonably
 believed by it to be genuine and to have been delivered or signed by the proper parties, except as may
 result from its own gross negligence, bad faith or willful misconduct or that of its directors, officers,
 employees or agents.

                (d)      The Preference Shares Paying Agent shall not be under any liability for interest
 on any money at any time received by it pursuant to any of the provisions of this Agreement, except as
 otherwise agreed in writing with the Issuer.

                  (e)      The Preference Shares Paying Agent shall not incur any liability with respect to
 the validity or value of any of the Preference Shares unless otherwise specified herein.

         Section 12.      Conflicts

                  (a)     The Preference Shares Paying Agent and its officers, directors and employees
 may, subject to the restrictions set forth in Section 9(c) hereof, become the Holder of, or acquire any
 interest in, any Preference Shares, with the same rights that it or they would have if it were not the
 Preference Shares Paying Agent hereunder, or they were not such officers, directors, or employees, and
 may engage or be interested in any fiscal or other transaction with the Issuer and may act on, or as
 depository, trustee or agent for, any committee or body of Holders of Preference Shares or other
 indebtedness of the Issuer as freely as if it were not the Preference Shares Paying Agent hereunder or they
 were not such officers, directors, or employees.

                  (b)     The Preference Shares Paying Agent shall be obliged to perform such duties and
 only such duties as are specifically set forth herein, and no implied duties or obligations shall be read into
 this Agreement or the Indenture against the Preference Shares Paying Agent. Except as otherwise
 expressly provided in Section 5 of Annex A to the Resolutions (to the extent they do not contradict this
 Agreement), the Preference Shares Paying Agent shall have no duties under Annex A to the Resolutions.
 The Preference Shares Paying Agent shall not be under any obligation to take any action hereunder that
 may tend to involve it in any expenses or liability, the payment of which within a reasonable time is not,
 in its reasonable opinion, assured to it. The Preference Shares Paying Agent shall not be accountable or
 under any duty or responsibility in case of any default of which the Preference Shares Paying Agent has
 knowledge by the Issuer in the performance of its obligations contained in the Amended and Restated
 Memorandum and Articles of Association and Annex A to the Resolutions (including, without limitation,
 any duty or responsibility to initiate or attempt to initiate any proceedings at law or otherwise or to make
 any demand for payment upon the Issuer).

                  (c)      In acting under this Agreement, the Preference Shares Paying Agent is acting
 solely as agent of the Issuer and does not assume any obligations to, or relationship of agency or trust for
 or with any of the owners or Holders of the Preference Shares. All funds held by the Preference Shares
 Paying Agent for payment on the Preference Shares shall be held in trust for the Issuer, until paid.




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                  (d)     The Preference Shares Paying Agent shall, as between itself and the Holders of
 the Preference Shares, with respect to all the obligations, powers, authorities and discretions, vested in it
 hereunder Amended and Restated Memorandum and Articles of Association and the Resolutions, have
 absolute and uncontrolled discretion as to the exercise thereof whether in relation to the manner or as to
 the mode of and time for the exercise thereof and, in the absence of gross negligence, bad faith or willful
 misconduct on its part or that of its officers, directors or employees shall be in no way responsible for any
 loss, costs, damages or inconvenience that may result from the exercise or non-exercise thereof.

           Section 13.    Amendment

                  (a)     This Agreement may be amended by the parties hereto, without the consent of
 the Holders of any Preference Shares, for the purpose of curing any ambiguity, or of curing, correcting or
 supplementing any defective provision contained herein, or in regard to matters or questions arising under
 this Agreement as the Issuer and the Preference Shares Paying Agent may deem necessary or desirable
 and which shall not materially adversely affect the interests of Holders of the Preference Shares. In
 addition, this Agreement may be amended without the consent of any Holders of the Preference Shares
 and without regard to whether or not such amendment adversely affects the interest of the Holders of the
 Preference Shares in order to prevent the Issuer from becoming an “investment company” as defined in
 the Investment Company Act or to better assure compliance with the requirements of Rule 3a-7 and/or to
 remove transfer restrictions and other requirements relating to Section 3(c)(7); provided that, as a
 condition to the effectiveness of any such supplemental indenture, each of the Issuer, the Trustee, the
 Preference Shares Paying Agent and the Servicer shall have received a customary opinion of counsel
 (which may be supported as to factual matters by any relevant certificates or other documents necessary
 or advisable in the judgment of counsel delivering such opinion) from a nationally recognized law firm
 providing that, after giving effect to such supplemental indenture, the Issuer is exempt from registration
 as an “investment company” under the Investment Company Act in reliance on the exemption provided
 by Rule 3a-7.

                 (b)  Unless otherwise as set forth in subsection (a) above, this Agreement may be
 amended with the consent of Holders of a Majority of the Preference Shares materially and adversely
 affected thereby.

                  (c)     Any amendment to this Agreement must be in writing executed by each party
 hereto.

                   (d)      The Preference Shares Paying Agent shall be entitled to receive, and (subject to
 its duties and obligations herein) shall be fully protected in relying upon, an opinion of counsel, consent
 or certificate of the Issuer in determining whether or not any proposed amendment is permitted hereunder.

                  (e)     Any amendment to this Agreement that would necessitate a change to the
 Amended and Restated Memorandum and Articles of Association may only be made after a Special
 Resolution (as therein defined) has been passed to permit the Memorandum and Articles of Association to
 be altered to conform with such proposed amendment.

                 (f)    The Preference Shares Paying Agent shall, at the Issuer’s expense, provide
 prompt notice to S&P of any amendment to this Agreement at the address for notice set out in Section
 14.3 of the Indenture.

         Section 14.       Resignation or Removal of the Preference Shares Paying Agent. The Preference
 Shares Paying Agent may at any time resign as the Preference Shares Paying Agent, by giving written
 notice to the Issuer of its resignation, specifying the date on which its resignation shall become effective



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 (which date shall not be less than 60 days after the date on which such notice is given unless the Issuer
 shall agree to a shorter period). The Issuer may remove the Preference Shares Paying Agent at any time
 by giving written notice of not less than 60 days to the Preference Shares Paying Agent specifying the
 date on which such removal shall become effective. Such resignation or removal shall only take effect
 upon the appointment by the Issuer of a successor Preference Shares Paying Agent and upon the
 acceptance of such appointment by such successor Preference Shares Paying Agent; provided, however,
 that if the successor Preference Shares Paying Agent has not been appointed within 60 days after such
 notice of resignation or removal, then the Preference Shares Paying Agent, or any Holder of Preference
 Shares, may, on behalf of himself and others similarly situated, petition any court of competent
 jurisdiction for the appointment of a successor Preference Shares Paying Agent; provided, further, that
 after the retirement of the Notes, if the Issuer determines that no material distributions will be paid on the
 Preference Shares, the Issuer may remove the Preference Shares Paying Agent at any time, by giving
 written notice of not less than 10 days, and assume the duties of the Preference Shares Paying Agent
 itself. The Preference Shares Paying Agent shall, at the Issuer’s expense, provide prior notice to S&P of
 its resignation or removal under this Agreement at the address for notice set out in Section 14.3 of the
 Indenture.

         Section 15.     Assignment. No party hereto may assign or novate any of its rights or
 obligations hereunder except with the prior written consent of all the parties hereto.

         Section 16.      Merger, Conversion, Consolidation or Succession to Business of Preference
 Shares Paying Agent. Any entity into which the Preference Shares Paying Agent may be merged or
 converted or with which it may be consolidated, or any entity resulting from any merger, conversion or
 consolidation to which the Preference Shares Paying Agent is a party, or any entity succeeding to all or
 substantially all of the corporate trust business of the Preference Shares Paying Agent, shall be the
 successor of the Preference Shares Paying Agent under this Agreement without the execution or filing of
 any paper or any further act on the part of any of the parties hereto.

          Section 17.      Reports and Notices. The Issuer hereby authorizes the Preference Shares Paying
 Agent to deliver or request the Trustee to deliver all Monthly Reports and Valuation Reports (each a
 “Report” and, collectively, “Reports”) prepared pursuant to the Indenture to the Holders of the
 Preference Shares and the Preference Shares Paying Agent shall deliver, or shall cause the Trustee to
 deliver a copy of any such Report to such Holders within two Business Days of receipt of any such
 Report. In addition, the Preference Shares Paying Agent shall deliver, or shall cause the Trustee to
 deliver, a copy of any other notice or information that it has received from the Trustee under the Indenture
 to the Holders of the Preference Shares within two Business Days of receipt of such notice and
 information. Any notices or information to be delivered by the Preference Shares Paying Agent to the
 Holders of the Preference Shares pursuant to this Agreement shall be delivered, in each case, (i) by first-
 class mail, postage prepaid, to each Holder of a Preference Share at the address appearing in the
 Preference Share register or (ii) with respect to delivery of the Reports, by making such Reports available
 via its internet website, initially located at www.cdocalc.com/ibt/cdo. All information made available on
 the Preference Shares Paying Agent’s website shall be restricted and the Preference Shares Paying Agent
 shall only provide access to such reports to those parties entitled thereto pursuant to the Preference Shares
 Paying Agency Agreement. In connection with providing access to its website, the Preference Shares
 Paying Agent may require registration and the acceptance of a disclaimer. Questions regarding the
 Preference Shares Paying Agent’s website may be directed to the Preference Shares Paying Agent’s
 customer service desk at (617) 937-5585.

         Section 18.      Notices




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                  (a)      All communications by or on behalf of the Issuer relating to the transfer or
 payment of a Preference Share or any interest therein shall be directed to the Preference Shares Paying
 Agent at its address set forth in clause (b)(ii) below. The Preference Shares Paying Agent shall mail any
 notice it receives from the Trustee (for forwarding to the Holders of the Preference Shares) to the Holders
 of the Preference Shares on the Business Day it receives such notice.

          Where this Agreement provides for notice to Holders of the Preference Shares of any event, such
 notice shall be sufficiently given (unless otherwise herein expressly provided) if such notice is in writing
 and mailed, first-class postage prepaid, to each Holder of the Preference Shares affected by such event, at
 such Holder’s address as it appears on the Preference Share register, not later than the latest date, and not
 earlier than the earliest date, prescribed for the giving of such notice.

          Neither the failure to mail such notice, nor any defect in any notice so mailed, to any particular
 Holder of Preference Shares shall affect the sufficiency of such notice with respect to other Holders. Any
 notice that is given in the manner herein provided shall conclusively be presumed to have been duly given
 whether or not actually received by such Holder. Any notice to Holders of the Preference Shares
 provided for in this Agreement will be deemed to have been given on the date of mailing.

         Any notice by any Holder of Holding Preference Shares delivered to the Holding Preference
 Shares Paying Agent shall be treated by the Preference Shares Paying Agent, for the purposes of this
 Agreement, as a notice, by a Holder of Preference Shares with respect to a number of Preference Shares
 equal to the number of Holding Preference Shares with respect to which such notice relates, delivered to
 the Preference Shares Paying Agent on the same date such notice is delivered to the Holding Preference
 Shares Paying Agent.

         Where this Agreement provides for notice in any manner, such notice may be waived in writing
 by any Person entitled to receive such notice, either before or after the event, and such waiver shall be the
 equivalent of such notice.

         In the event that, by reason of the suspension of the regular mail service as a result of a strike,
 work stoppage or similar activity, it shall be impractical to mail notice of any event to Holders of the
 Preference Shares when such notice is required to be given pursuant to any provision of this Agreement,
 then any manner of giving such notice as shall be satisfactory to the Preference Shares Paying Agent shall
 be deemed to be a sufficient giving of such notice.

                  (b)      Notices and other communications hereunder shall (except to the extent
 otherwise expressly provided) be in writing and shall be addressed as follows, or to such other addresses
 as the parties hereto shall specify from time to time:

                          (i)     if to the Issuer:

                          Brentwood CLO Ltd.
                          PO Box 1093GT, Queensgate House
                          South Church Street
                          George Town, Grand Cayman
                          Cayman Islands
                          Fax: (345) 945-7100
                          Attention: The Directors

                          (ii)    if to the Preference Shares Paying Agent:




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                         Investors Bank & Trust Company
                         200 Clarendon Street
                         Mail Code EUC 108
                         Boston, Massachusetts 02116
                         Fax: (617) 351-4358
                         Attention: CDO Services Group (Brentwood CLO, Ltd)

         Section 19.     Covenants of the Issuer. The Issuer shall not take any action under this
 Agreement or the Indenture that requires the authorization, direction or consent from the Holders of the
 Preference Shares without obtaining such authorization, direction or consent from the Holders of the
 Preference Shares. It shall be the responsibility of the Issuer to satisfy the Preference Shares Paying
 Agent as to the compliance with the foregoing condition (on which the Preference Shares Paying Agent
 may rely on in good faith).

          Section 20.     Transfer of Issuer Ordinary Shares. For so long as any of the Preference Shares
 are Outstanding, the Issuer shall not agree to the transfer of any Issuer Ordinary Shares to U.S. Persons
 (as defined in the Code), and shall not transfer any such Issuer Ordinary Shares to any Person other than a
 Person which is a resident of the Cayman Islands.

         Section 21.     Certain Tax Matters

                  (a)     On demand of the Issuer, a Holder or beneficial owner of a Preference Share will
 notify the Issuer whether or not the Holder or beneficial owner of such Preference Share is a United States
 person within the meaning of Section 7701(a)(30) of the Code and the name and status of such Holder or
 beneficial owner as an individual, partnership, corporation, or other entity and such other information as
 the Issuer shall reasonably request for purposes of tax reporting of the Issuer or other Holders of the
 Preference Shares.

                 (b)     The Issuer will cause the Independent accountants to make a determination as to
 whether a Holder’s investment in the Preference Shares has become a “reportable transaction” as
 described in Treasury Regulation Section 1.6011-4 because, after the Closing Date, the Issuer entered into
 a transaction whereby the Issuer recognized a significant loss or otherwise. If the Holder’s investment in
 the Preference Shares has become such a “reportable transaction,” then the Issuer shall provide to Holders
 of Preference Shares any information available to it which may be reasonably necessary for such Holders
 of Preference Shares to comply with any disclosure requirements under Section 6011 of the Code and the
 Treasury Regulations promulgated thereunder with respect to its investment in the Preference Shares.

                  (c)     The Issuer will provide or cause to be provided to each Holder or beneficial
 owner of the Preference Shares (or its designee), upon written request therefor, any information that such
 Holder or beneficial owner reasonably requests to assist such Holder or beneficial owner with regard to its
 or its equity owners’ U.S. federal income tax filing requirements.

                 (d)     Each Holder and beneficial owner of the Preference Shares agrees to treat the
 Preference Shares as equity of the Issuer and the Notes as debt of the Issuer for U.S. federal, state and
 local income tax purposes, if applicable.

                  (e)     The Issuer will make an election to be treated as a partnership, and will take all
 necessary actions to maintain its status as a partnership (or, if the Issuer is treated as owned by one
 person, as a disregarded entity of such person) for U.S. federal income tax purposes.




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                  (f)     The Issuer shall not participate in listing or including the Class D Notes or
 Preference Shares on or in any Established Securities Markets, and shall not participate in establishing
 any Established Securities Market for its Class D Notes or Preference Shares. In addition, the Issuer shall
 not recognize any transfers made on any Established Securities Markets with respect to its Class D Notes
 or Preference Shares (including any transfers of any financial instrument (other than the Senior Notes) or
 contract the value of which is determined in whole or in part by reference to the Issuer).

                   (g)     Transfers of Preference Shares may only be made upon receipt by the Preference
 Shares Paying Agent of (1) appropriate documentation required under the Code and the applicable
 Treasury regulations establishing that the beneficial owner of the Preference Shares to be transferred is
 either not a U.S. person (e.g., an IRS Form W-8BEN or an IRS Form W-8IMY with appropriate
 attachments) or a U.S. person (e.g., an IRS Form W-9) and (2) if such beneficial owner of Preference
 Shares to be transferred is treated as a partnership, S-corporation or grantor trust for U.S. federal income
 tax purposes, a written representation from such beneficial owner that (i) there will not be any interests in
 such beneficial owner where substantially all of the value of such interest is attributable to the value of the
 Preference Shares proposed to be transferred to such beneficial owner, together with the value of any
 Class D Notes, Holding Preference Shares and Preference Shares already held by such beneficial owner
 and (ii) such beneficial owner is not a part of any arrangement a principal purpose of which is to cause the
 Class D Notes and Preference Shares to be treated as owned by 100 persons or less within the meaning of
 Treasury Regulation section 1.7704-1(h). In addition, neither the Preference Shares Paying Agent nor the
 Issuer shall recognize any transfers of Preference Shares, and any such proposed transfer shall be null and
 void, if (a) the proposed transfer will cause the Issuer to have more than ninety-nine beneficial owners (as
 determined for purposes of the provisions of Treasury Regulation section 1.7704-1(h)) of its Class D
 Notes and Preference Shares unless it receives the consent of all of the Holders of the Preference Shares
 and an Opinion of Counsel to the effect that Holders of the Notes will not recognize gain or loss for U.S.
 federal income tax purposes as a result of such transfer, and will be subject to U.S. federal income tax on
 the same amounts, in the same manner and at the same times as would have been the case if such transfer
 had not been made or (b) such transfer was made pursuant to a trade on an Established Securities Market.
 The Preference Shares Paying Agent shall contact the Trustee to request, and shall be entitled to rely upon
 the information it receives from the Trustee to determine, the number of beneficial owners of the Class D
 Notes. The Preference Shares Paying Agent shall provide, upon request by the Trustee, the number of
 beneficial owners of the Preference Shares referenced on, and in reliance upon, the transfer certificates
 received pursuant to the terms of this Agreement.

         Section 22.     Minimum Lots. Preference Shares must be held in minimum lots of 100
 Preference Shares per investor and integral multiples of one Preference Share in excess thereof.

          Section 23.      Limited Recourse; No Petition. The Preference Shares Paying Agent hereby
 acknowledges and agrees that the Issuer’s obligations hereunder will be solely the corporate obligations
 of the Issuer, and that the Preference Shares Paying Agent will not have any recourse to any of the
 directors, officers, employees, shareholders or Affiliates of the Issuer with respect to any claims, losses,
 damages, liabilities, indemnities or other obligations in connection with any transactions contemplated
 hereby. Notwithstanding any other provisions of this Agreement, recourse in respect of any obligations
 of the Issuer hereunder will be limited to the proceeds of the Collateral, paid pursuant to the Priority of
 Payments and on the exhaustion thereof all obligations of and all claims against the Issuer arising from
 this Agreement or any transactions contemplated hereby shall be extinguished and shall not thereafter
 revive. The Preference Shares Paying Agent, by entering into this Agreement, hereby covenants and
 agrees that it will not, prior to the date which is one year and one day (or, if longer, the applicable
 preference period) after the payment in full of all amounts owing under the Indenture this Agreement and
 all securities issued by the Issuer, institute against the Issuer, or voluntarily join in any institution against
 the Issuer of, any bankruptcy, reorganization, arrangement, insolvency or liquidation proceedings, or


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 other proceedings under any United States federal or state bankruptcy or similar law of any jurisdiction
 within or without the United States in connection with any obligations relating to the Preference Shares or
 this Agreement. The provisions of this Section 23 shall survive termination of this Agreement for any
 reason whatsoever.

      Section 24. (a) GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY,
 AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

            (b)  WAIVER OF JURY TRIAL.     EACH OF THE ISSUER AND THE
 PREFERENCE SHARES PAYING AGENT HEREBY IRREVOCABLY WAIVES, TO THE FULLEST
 EXTENT PERMITTED BY APPLICABLE LAW, ANY AND ALL RIGHT TO TRIAL BY JURY IN
 ANY LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, THE
 PREFERENCE SHARES OR THE TRANSACTIONS CONTEMPLATED HEREBY.

                  (c)      Service of Process. The Issuer irrevocably appoints Investors Bank & Trust
 Company (the “Process Agent”) located at 33 Maiden Lane, 4th Floor, NY, NY 10038, to receive, for it
 and on its behalf, service of process in any suit, action or proceeding relating to this Agreement. If for any
 reason the Process Agent is unable to act as such, the Issuer shall promptly notify the Preference Shares
 Paying Agent and within 30 days appoint a substitute process agent acceptable to the Preference Shares
 Paying Agent.

          Section 25.       Signatures. This Agreement may be signed in two or more counterparts with the
 same effect as if the signatures thereto and hereto were upon the same instrument. A facsimile signature
 shall be considered due execution and shall be binding upon the signatory thereto with the same force and
 effect as if the signature were an original.

                       [The Remainder Of This Page Has Been Intentionally Left Blank.]




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                                                                                              SCHEDULE I


                           Notice of Distribution of Eligible Equity Securities



 Date:   [____________]


 [Name of Holder]
 [address]
 Attention: [____]

 Copy:

 Brentwood CLO, Ltd.
 P.O. Box 1093GT
 Queensgate House
 South Church Street
 George Town
 Grand Cayman, Cayman Islands
 Attention: the Directors


                                 Re:      Brentwood CLO, Ltd.
                                          Distribution of Eligible Equity Securities in lieu of Interest
                         Proceeds



 Ladies and Gentlemen:

          This letter is to inform you that Highland Capital Management, L.P., in its capacity as servicer
 (the “Servicer”) with respect to that certain servicing agreement, dated as of December 21, 2006, by and
 between Brentwood CLO, Ltd. (the “Issuer”) and the Servicer, on behalf of the Issuer, would like to
 distribute Eligible Equity Securities on the Payment Date of [____], 20[__] to the Holders of the
 Preference Shares in lieu of the Interest Proceeds, in whole or in part, that are otherwise due and payable
 to such Holders on such Payment Date. Such Eligible Equity Securities will be distributed in accordance
 with Sections 2(e) and 3(b) of that certain paying agency agreement, dated as of December 21, 2006 (the
 “Preference Shares Paying Agency Agreement”), by and between the Issuer and Investors Bank &
 Trust Company, in its capacity as preference shares paying agent (the “Preference Shares Paying
 Agent”) and Section 11.1(a)(i) of that certain indenture, dated as of December 21, 2006, by and between
 the Issuer, Brentwood CLO Corp. and Investors Bank & Trust Company, in its capacity as trustee (the
 “Trustee”). Any capitalized terms used without definition herein are used with the meanings assigned to
 such terms in the Indenture.

         Details with respect to the proposed distribution of such Eligible Equity Securities are attached
 hereto as Exhibit A.

          Each Holder of the Preference Shares wishing to receive such Eligible Equity Securities in lieu of
 all or a portion of the Interest Proceeds available for distribution to such Holder (each such Holder, a
 “Consenting Holder”) must deliver the consent notice attached hereto as Exhibit B (the “Consent
 Notice”) to the Preference Shares Paying Agent not later than five Business Days prior to such Payment
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 Date. Each Consenting Holder must indicate in the Consent Notice the portion of Preference Shares held
 by such Holder for which such Holder wishes to receive a distribution of Eligible Equity Securities in lieu
 of Interest Proceeds. Any Consent Notice that is not delivered to the Preference Shares Paying Agent in
 the manner set forth herein shall be deemed to have not been delivered.

         Please contact [_______] ([insert e-mail address]) at [(___) __-___] with any questions.



                                                  Sincerely,

                                                  Investors Bank & Trust Company
                                                  as Preference Shares Paying Agent



                                                  By:________________________
                                                  Name:
                                                  Title:




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                                                                          EXHIBIT A
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                                                                                             EXHIBIT B


                                          CONSENT NOTICE

          The undersigned hereby consents to a distribution of Eligible Equity Securities in lieu of the
 Interest Proceeds due and payable as dividends with respect to [___] of the Preference Shares held by the
 undersigned on the Payment Date of [___], 20[__].

 Date: ____________, 20[__]




 Print Name of Holder


 By:
 Signature of Authorized Signatory



 Print Name of Authorized Signatory



 Print Title of Authorized Signatory




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                                                                                       EXHIBIT C


                                      FORM OF SALE NOTICE

    FROM:

    [Party requesting redemption of Class II        [Subscriber for Investor Corp.
    Preference Shares – Name and Address            Preference Shares – Name and Address
    Fax number – [        ]]                        Fax number – [        ]]
    (the "Redeeming Party")                         (the "Subscriber")


    TO:

    Brentwood CLO Ltd.                              Brentwood Investors Corp.
    PO Box 1093GT                                   PO Box 1093GT
    Queensgate House                                Queensgate House
    South Church Street                             South Church Street
    George Town                                     George Town
    Grand Cayman                                    Grand Cayman
    Cayman Islands                                  Cayman Islands
    Attention: The Directors                        Attention: The Directors
    Fax: 1 345 945 7100                             Fax: 1 345 945 7100

    Investors Bank & Trust Company                  Highland Financial Partners L.P.
    200 Clarendon Street                            Two Galleria Tower
    Boston                                          13455 Noel Road, Suite 1300
    Massachusetts                                   Dallas, Texas 75240
    02116                                           Attention: [    ]
                                                    Fax: 1 972 628 4147

                                                                   [INSERT DATE OF NOTICE]
    Dear Sirs

          SALE NOTICE RELATING TO THE REDEMPTION OF BRENTWOOD CLO LTD.
    CLASS II PREFERENCE SHARES AND SUBSCRIPTION FOR BRENTWOOD INVESTORS
    CORP. PREFERENCE SHARES


    As required by the Articles of Association of each of Brentwood CLO Ltd. and Brentwood

    Investors Corp. and the applicable Paying Agency Agreements relating to the Preference Shares

    of each of Brentwood CLO Ltd. and Brentwood Investors Corp., we hereby give you notice of the

    following:




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                                                                                         EXHIBIT C




    1.   REQUEST FOR REDEMPTION OF BRENTWOOD CLO LTD. CLASS II
    PREFERENCE SHARES

    (a)     Redemption Date: [Insert date – to be 10 or more days from the date of this notice]

    (b)     Number of Class II Preference Shares to be redeemed (if approved): [Insert number]

    (c)     Redemption Price: [Insert total redemption price requested]

    The Redeeming party hereby requests that Brentwood CLO Ltd. approves the proposed
    redemption as set forth in 1 above.

    2.      REQUEST FOR SUBSCRIPTION FOR BRENTWOOD INVESTORS CORP.
            PREFERENCE SHARES

    (a)     Subscription Date: [Insert date – must be same as in 1(a) above]

    (b)     Number of Preference Shares to be subscribed for (if approved): [Insert number - must be
            same as in 1(b) above ]

    (c)     Subscription Price: [Insert subscription price requested – must be same as in 1(c) above]


    The Subscriber hereby requests that Brentwood Investors Corp. approves the proposed
    redemption as set forth in 1 above.



    _______________________
    [Approved][Not approved]
    For and on behalf of
    Brentwood CLO Ltd.




    _______________________
    [Approved][Not approved]
    For and on behalf of
    Brentwood Investors Corp.

    FORM TO BE FAXED BACK BY BRENTWOOD CLO LTD. AND BRENTWOOD
    INVESTORS CORP. TO ALL PARTIES ON THE NOTICE AS SOON AS POSSIBLE

    IF APPROVED BY BRENTWOOD CLO LTD. AND BRENTWOOD INVESTORS
    CORP., THIS SIGNED NOTICE WILL CONSTITUTE DEEMED NOTICE TO
    BRENTWOOD CLO LTD. FROM BRENTWOOD INVESTORS CORP. (WITHIN THE



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    REQUIRED TIME LIMIT) OF A REQUEST FOR REDEMPTION OF AN
    EQUIVALENT NUMBER OF CLASS I PREFERENCE SHARES OF BRENTWOOD
    CLO LTD. ON THE SAME TERMS AND CONDITIONS AS THE REDEMPTION OF
    THE BRENTWOOD INVESTORS CORP. PREFERENCE SHARES




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